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                    EXHIBIT 1
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(12)   United States Patent                                                 (10) Patent No.:                     US 11,661,260 Bl
       Koenig et al.                                                        (45) Date of Patent:                             *May 30, 2023

(54)   EXPANDABLE PIZZACO~TAINER                                                                 43/02; 865D 43/0204: 865D 43/0212;
                                                                                                 B65D 43/0222; B65D 51/1672: B65O
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                  Aurora, OR (US)                                                               2543/00685; 865D 2543/00759; 865D
                                                                                                  2543/00805; 865D 2543/0099; 865D
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                  Poeschl. Aurora, OR (US); Jeff Koenig,                                                                         865D 81/3461
                  Aurora, OR (US)                                                USPC .. ................................ 206/551; 220/666. 667
                                                                                 See application file for complete search history.
( *)   Notice:      Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35            (56)                         References Cited
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                   This patent is subject to a terminal dis-
                   claimer.                                                    4.881,658 A • l lil989 VanCucha .......... 865D 43/0212
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(21)   Appl. No.: 18/160,279                                                   5,269,430 A • 12/1993 Schlaupitz ........... 865D 43/162
                                                                                                                               220/4.23
(22)   Filed:       Jan. 26, 2023                                                                       (Continued)

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                Related U.S. Application Data
(63)   Continuation-in-part of application No. 17/727.683,             CK                  114305042 A •            4i2022
       filed on Apr. 22. 2022.                                         Primary Examiner - Bryon P Gehman
                                                                       (74) Atlorney, Agent, or Firm -Mark S Hubert PC
(51)   Int. Cl.
       B65D 81/34             (2006.01)                                (57)                            ABSTRACT
       B65D 85136             (2006.01)
                                                                       An expandable triangular pizza storage container with a set
                         (Continued)
                                                                       of microwaveable triangular trays for the separation, micro-
(52)   U.S. Cl.
                                                                       waving and serving of individual slices of pizza. The storage
       CPC .......... B65D 81/3461 (2013.01): A47J 47/08               container has a series of concentric triangular compartments
                     (2013.01); A47.T 47114 (2013.01): JJ65D           that arc expanded from a flexible polymer, accordion-style
                 211086 (2013.01); B65D 251108 (2013.01);              container body. lbe lid also has a triangular configuration
                    B65D 43/0212 (2013.01): B65D 5111672               with a replaceable compressible gasket. a set of four locking
                    (2013.01): /J65D 85/36 (2013.01); JJ65D            wings extending from each side that frictionally engage a
                     1543/0099 (2013.01 ): 865D 2543/00111             rigid triangular top ring of the container body, and a central
             (2013.01): B65D 2543/00537 (2013.01); B65D                vent. TI1e trnys may incorporate uniform concave pockets to
                                       2543/00648 (2013.01);           facilitate crisping of the piaa cmst in the microwave and be
                          (Continued)                                  of a solid or cored design. of microwave and dishwasher
(58)   F'ield of Classification Search                                 friendly material.
       CPC .. A47J 47/08; A47J 47/14; B65D 6/00; 865D
                   6/18; B65D 21/086: 865D 25/108; 865D                                    12 Claims, 9 Drawing Sheets




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                                FIG. 1
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                           FIG. 2
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                          ~
                          FIG. 5




                                                  FIG. 3
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         FIG. 4




                                                    FIG. 7
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               FIG. 8




                                    FIG. 6
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                                FIG. 9
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                                FIG. 10
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        FIG.13




                                                  FIG. 14
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         EXPANDABLE PIZZA CONTAINER                                        BRJEF DESCRJPTION OF THE DRAWINGS

     PRIORITY CLAIM TO A NONPROVISIONAL                                  A further understanding of the nan1re and advantages of
                 APPLIC.~rION                                        particular embodiments may be realized by reference to the
                                                                 5 remaining portions of the specification and the drawings, in
    1l1is application is a continuation in part of U.S. patent       which like reforence numerals are used to refer to similar
application Ser. No. 17/727,683, filed Apr. 22, 2022. entitled       components.
"Expandable Pizza Container" which is incorporated by                    FIG. 1 is a perspective top view of the expanded pizza
reference herein in its entirety.                                    storage container with the lid in an unlocked configuration;
                                                                 1
                                                                  °      FIG. 2 is a perspective top view of the expanded pizza
                 COPYRIGHT STATEMENT                                 storage container with the lid removed;
                                                                         FIG. 3 is a top view of the Jid with the vent cap removed;
    A portion of the disclosure of this patent document                  FIG. 4 is a top perspective view of the dimpled tray;
contains material that is subject to copyright protection. The           FIG. S is a top view of the vent cap;
                                                                 15
copyright owner has no objection to the facsimile reproduc-              FIG. 6 is a bottom view of the lid;
tion by anyone of the patent document or the patent disclo-              FIG. 7 is a bottom perspective view of the dimpled tray;
sure as it appears in the Patent and Trademark Office patent             FIG. 8 is a bottom view of the vent cap;
file or records, but otherwise reserves all copyright rights             FIG. 9 is a perspective top view of the collapsed pizza
whatsoever.                                                      w storage container;
                                                                         FIG. 10 is a top view of a collapsed pizza storage
                             FIELD                                   container;
                                                                         FIG. 11 is a cross St.->ctional view of the container body's
    '!be present disclosure relates, in general, to food storage     seal ring;
technology. and more particularly to an expandable, multi- 25            FIG.12 is a cross sectional view of the bulbous extension;
slice piz7.a storage container.                                          FIG. 13 is a top perspective view of an alternate embodi-
                                                                     ment smooth tray;
                        BACKGROUND                                       FIG. 14 is a bottom perspective view of an alternate
                                                                     embodiment smooth tray;
    Pi12.a is one of the staples of the American diet. 'I.be 30          FIG. 1S is a lateral cross section taken through the
dmwback is that pizza from restaurants and to•go pizza               dimpled tray; and
parlors, generally don't come in single serving portions.                FIG. l 6 is a lateral cross section taken through the smooth
Rather, they come sliced in whole pies, enough to feed four          tray.
or more people. ·111is causes a dilemma when a piz1..a pie is
ordered for less than four people. This causes the leftovers 35                DETAILED DESCRJPTION OF CERTAIN
to be individually wr,ipped or put into multiple storage                                      EMBODIMENTS
containers. ·mis takes unnecessary space in the refrigerator
since pizza slices are generally triangular and conventional             While various aspects and features of certain embodi-
refrigerator storage containers arc square or round. Regard-         ments have been summarized above, the following detailed
 less. they must be microwaved individually on another plate. 40 description illustrates a few exemplary embodiments in
and both the plate and container must be washed.                     further detail to enable one skilled in the art to practice such
     Henceforth, a dedicated pizza storage container that was        embodiments. Reference wi11 now be made in detail to
adapted for the storage and reheating/crisping of multiple           embodiments of the inventive concept, examples of which
 slices of pizza pie would tulfill a long felt need in food          are iJlustrated in the accompanying drawings. The accom-
 storage industry. l11is new invention utilizes and combines 45 panying drawings are not necessarily drawn to scale. The
 known and new technologies in a unique and novel con-               described examples are provided for illustrdtive purposes
 figuration to overcome the aforementioned problems and              and are not intended to limit the scope of the invention. It
 accomplish this.                                                     should be understood, however, that persons having ordi•
                                                                      nary skill in the art may practice the inventive concept
                      BRIEF SUMMARY                              so without these specific details.
                                                                         It will be understood that, although the terms first, second,
     In accordance with various embodiments, an expandable,           etc. may be used herein to describe various elements, these
 triangular, multi-slice pizza storage container is provided.         elements should not be limited by these terms. These terms
     In one aspect, a pizza container with triangular trays for       are only used to distinguish one element from another. For
 use in the separation of pi1J.a slices to be stored, as well as 55 example, a first attachment could be tem1ed a second attach-
 for use as an individual pi1.7..a slice microwaveable crisper        ment, and, similarly, a second attachment could be tenned a
 and serving tr.iy is provided.                                       first attachment, without departing from the scope of the
     In another aspect, a triangular expandable, multi-level          inventive concept.
 pizza storage container with a vented, lockable lid is pro•             It will be understood that when an element or layer is
 vided.                                                           60 referred to as being ..on." "coupled to," or "connected to"
     Various modifications and additions can be made to the           another element or layer, it can be directly on, directly
 embodiments discussed without departing from the scope of            coupled to or directly connected to the other element or
 the invention. For exan1ple, while the embodiments                   layer, or intervening elements or layers may be present. In
 described above refer to particular features. the scope of this      contrast, when an element is referred to as being "directly
 invention also includes embodiments having di.flerent com- 6S on," "directly coupled to," or "directly connected to"
 bination of features and embodiments that do not include all         another element or layer, there are no intervening elements
 of the above described features.                                     or layers present. Like numbers refer to like elements
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                               3                                                                    4
throughout. As used herein, the term "and/or.. includes any          lid 4 and ensures the lid 4 stays on and the gasket 30 stays
tmd all combinations of one or more of the associated listed         compressed guaranteeing freshness of the container•s con-
items.                                                               tents.
    As used in the description of the inventive concept and the          Looking at FIGS. 3 and 6, the lid 4 can best be described.
appended claims, the singular fonus "a," "an," and "the" are 5 The lid 4 also has a generally triangular shape and a planar
intended to include the plural fom1s as well, unless the             top face 29 with an orifice 40 formed in a triangular
context clearly indicates otherwise. It will a]so be under-          depression 38 thereon. "I11e Hd 4 is made of a rigid, trans-
stood that the tenn "and/or" as used herein refers to and            parent polymer and has a series of four hinged locking wings
                                                                     36 extending from the sides of the lid 4. F.ach locking wing
encompasses any and all possible combinations of one or
                                                                  10 36 has a top face 42 and a bottom face 44 with at least one
more of the associated listed items. It will be further
                                                                     T shaped lock tab 34 projecting perpendicularly from its
understood that the terms .. comprises" and/or "comprising,"
                                                                     bottom face 44. The hinges 45 are merely extensions of the
when used in this specification, specify the presence of
                                                                     locking wings 36 onto the lid's outer periphery 47. These
slated features, integers, steps, operations, elements, and/or       hinges 45 do not extend the full length of the locking wings
components. but do not preclude the presence or addition of 15 36 as there are through slots 46 used to minimize the amount
one or more other features, integers. steps, operations.             of material in the hinge 45 for flexibility purposes.
elements. components. and/or groups thereof.                            l11e lid 4 has a compressible polymer gasket 30 that is
    Unless otherwise indicated. all numbers herein used to           frictionally housed in the generally triangular gasket groove
express quantities. dimensions, and so forth, should be              32 that runs around the outer edge of the lid 4. lbe gasket
understood as being modified in all instances by the term 10 groove 32 is formed adjacent an inner lid flange 50 that
•·about." In this application, the use of the singular includes      extends perpendicularly downward from the bottom face of
the plural unless specifically stated otherwise, and use of the      the lid 4, tracing the same generally triangular configuration
terms ..and" and •·or" means ..and/or" unless otherwise              as the lid 4 and the container body 6. When the lid 4 is fitted
indicated. Moreover, the use of the tenn .. including." as well      onto the container body 6, the inner lid flange 50 abuts the
as other forms, such as ..includes" and .. included," should he 25 seal ring 17 and aligns the lid 4 and the container body 6 so
considered non-exclusive. Also. terms such as ..clement" or          that the compressible gasket 30 is properly seated onto the
..component" encompass both elements and components                  planar top face of the seal ring 17 prior to compression .
comprising one unit and elements and components that                     'The vent cap 52 (FIG. 5) is a flexible triangular flap sized
comprise more than one unit, unless specifically stated              to fit within the triangular depression 38 on the lid 4. Its
                                                                  30 bottom face 54 has a bulbous extension 56 extending
otherwise.
                                                                     therefrom that is compressible and pliable. and sized sJighlly
    As used herein, the tenn "bulbous" refers to s shape that
                                                                     larger than the orifice 40. (FIG. 8) With the application of
 rescmblt..-s a light bulb with a generally spherical end top end
                                                                     side to side and downward pressure on the top face of the
 that is n<.-ckcd down in diameter at its other end.
                                                                     vent cap 52 the bulbous extension 56 will pass through the
    As used herein, the term ..generally triangular shape" 35 orifice 40 and retain the triangular vent cap 52 in the
 refers to a geometric configuration of a triangle with              triangular depression 38. Since the extension 56 has a
 rounded corners.                                                    bulbous configuration. the neck 55 has a diameter less than
    As used herein. the term "dimpled" means a surface with          tl1e diameter of the orifice 40. (See FIG. 12) 1bis narrower
 a series of small indentations formed thereon.                      neck of the extension, being smaller than the orifice 40,
    ·111e present invention relates to a novel design for a 40 allows the vent cap to rise in the depression 38 as needed to
 vertically expandable triangular, pizza storage container           allow pressurized air from the sealed container to escape.
 with a vented lockable lid and separation/serving trays that        Gravity and the frictional forces of the taper of the neck 55
 arc microwaveable.                                                   the extension 56 causes the vent cap 52 to close when the
     Looking at FIGS. 1 and 2 the expandable piu.a container          pressurized air has been vented.
 2 ("container") can be seen in its expanded configuration 45             Looking at FIGS. 4 and 7 the dishwasher and microwave
 with and without the lid 4 on the container body 6. The body         safe dimpled trays 60 can best be seen. As can be seen in the
 6 has a gcnc,dlly triangular shape with rounded comers 8. It         figures, the chosen form of concave indentation that forms
 is made of a flexible polymer and its three sides 16 are pleat       the dimple from the top face, is that of a circular cylinder,
 folded in the style of an accordion so as to form an upper           although other configurations are envisioned in other
 pleat 10 and a lower pleat 12. Although in alternate embodi- so embodiments with the common clement of being l.-oncave.
 ments. there may be more or less pleats. When the container              These trays 60 also share the same generally triangular
 body 6 is collapsed (FIGS. 9 and 10) these two pleats are            configuration as the container body 6 and lid 4, although
 concentrically nested in the same plane. These two pleats            dimensionally is slightly smaller than the container body's
 allow the container body 6 to have five concentric vertical          bottom face 14 so a tray 60 may be used on even the smallest
 levels of piz71l storage when the container body 6 is 55 of pizza slices stacked on the bottom of the container 6. The
 expanded. 'lbe container body 6 has a planar, unadomed               trays of the preferred embodiment 60 have a dimpled planar
 bottom face.                                                         top face 62 and a peripheral lip 64 extending around the tray
     The top peripheral edge of the container body 6 has a rigid      60. This holds the slice of pizza on the tray 60 as well as any
 polymer seal ring 17 bonded to the top of the flexible sides         oils that drip from the piz2.a during the microwave process.
 16. In the seal ring•s cross section view (FIG. 11) it can be 60 On one side (end) of the tray 60, there is a raised fwger tab
 seen that it is a solid generally triangular ring, with a planar     66 for lifting the tray 60 and its slice of pizza.
 top face 20 having an inner raised lip 22, and planar bottom             When the pizza slice is heated in the microwave, the tray
  face 24 having an outer raised lip 26. The top face 20 serves       60 absorbs the microwaves and cooks food from the hot tray
 as a surface for the compression of the removeable. com-             bottom, to make the tray 60 like a fiy pan and grill plate. To
 pressible gasket 30 housed in the gasket groove 32 of the lid 65 an extent, it also shields microwaves from entering the food
 4. (FIG. 6). The outer raised lip 26 acts to frictionally secure     lessening the damage to the nutrients of the food from
 the lock tabs 34 of the locking wings 36 extending from the          microwave penetration. Additionally. the dimples 70 a11ow
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for heat to tmnsfcr directly to the pi:i:za bread. 'These dimples      to the lid. When this compartment collapse is undertaken,
70 allow moisture to escape, so the pizza crust bt.'<..-omcs           the vent cap will lift up slightly to allow the compressed air
crispy and brown. which along with the hot tray, crisps the            to escape, helping ensure freshness.
crust. ll1c dimpled tray also reduct.-s the surface area that the         When an individual slice of pizza is desired, the lid's
bottom of each tray 60 will have with the slice of pizrn that 5 locking wings are rotated to an upward. horizontal position
the tray rests on. This minimizes the transfer of oils and             to release the lid from it<i frictional engagement with the
greases from the slice of pizm to the bottom face 68 of the            container's lock tabs, and decompress the compressible
tray 60 and also prevents the stacked piz:za slices from               gasket. The lid is removed. The tray under the top slice of
sticking together.                                                     pizza with the slice of pizza thereon is removed and placed
    FIGS. 13 and .14 are perspective views of the top and 10 in the microwave. Once heated the tmy and slice of pii.za are
bottom of an alternate embodiment tray 100. Here it can be             removed from the microwave and served as a unit. The
seen that these are identical to the preforred embodiment              above procedure is repeated to further collapse, vent and sea)
dimpled tray 60 without the dimples such that the tray is              the container, and the container is again ready for storage.
tnilay planar and smooth. It may or may not have a core and               While certain features and aspects have been described
an outer coating or it may be made of a solid material as the 15 with respect to exemplary embodiments, one skilled in the
dimpled tmy 60.                                                        art will recognize that numerous modifications are possible.
    Looking at FIG. 15 it can be seen in the preferred                 Consequently. this detailed description and accompanying
embodiment, the tray 60 is a two layer design made of a first          material is intended to be illustrative only, and should not be
core layer 90 coated about all surfaces with a second coating          taken as limiting the scope of the inventive concept. What is
layer 88. Here. the core 90 is of a metal or alloyed steel, ~o claimed as the invention, therefore, is all such modifications
preferably aluminum. 1bis core 90 has been coated with a               as may come within the scope and spirit of the following
non-stick. microwave and dishwasher safe coating 88.                   claims and equivalents thereto.
Because the design of the tray 60 has smooth. rounded and
planar exterior surfaces (IE those without any sharp edges or             Having thus described the invention, what is claimed as
pointy angles), microwaving them wiJI not cause a build-up 25 new and desired to be secured by Letters Patent is as
of electromagnetic energy, which will cause sparks and fires.          follows:
    The core 90 is chosen from the set of microwave safe rigid            1. An expandable pizi.a storage container, comprising:
cores such as aluminum, metal or alloyed steel, while the                 a flexible, generally triangular container body having
outer coating 88 is preferably a fluoroplastic such as per-and               three sides joined at rounded comers. and a planar
polyfluoroalkyl substances such as PTFE and PFA. Other .;o                   bottom face extending perpendicularly from a bottom
acceptable coatings include but are not limited to HDPE and                  edge of said sides, wherein said sides are pleat folded
polypropylene. All non-metal surface coatings 88 or cores                    so as to fom1 an upper pleat and a lower pleat that are
90, must be free of both BPA and phthalates.                                 concentricaJly nested;
    It is to be noted that this two layer design of a metal or            a rigid seal ring bonded to a top edge of said sides;
alloyed stc.-el core 90 with an outer polymer coating 88 may 35           a rigid, generally triangular. planar lid with a gasket
be reversed, wherein the core 90 can be a microwave and                      groove formed about a peripheiy edge of a bottom side
dishwasher safe polymer from the set of polymers as above,                   of said lid;
with an aluminum. metal or steel alloy outer coating 88.                  a compressible, removeable gasket frictionally retained
With either design, the critical feature is that the exterior of             within said gasket groove;
tray 60 be smooth. with rounded edges and planar surfaces. 40             a triangular tray with a top face and a bottom face;
    Still in other alternate embodiments, the trays 60 need               a peripheral lip fanned there about said top face;
only be solid metal, alloyed steel, or microwave and dish-                a finger tab extending from said top face:
washer safe polymers. as above. FIG. 16 shows a lateral                   wherein said lid resides upon said container body with
cross section of the alternate embodiment tray l 00 made of                  said gasket in contact with said seal ring, and said tray
a solid material.                                                   45       resides within said container body.
    111c expandable pizza container is used to store (refrig-             2. The expandable pizza storage container of claim 1,
erate) multiple slices of pizza stacked atop each other and            further comprising:
separated by triangular trays that serve to prevent the pizza             a vent cap operationally installed for upward and down-
slices from sticking together, to provide a drip tray to collect             ward motion in an orifice formed in a depression
oils and greases when microwaved, and to act as a serving so                 fonned on said lid;
tray for single slices. The container has a vented lid with a             a series of four hinged locking wings extending from said
series of locking tabs-one per container side.                               peripheiy edge of said lid. said locking wings having T
    In use, the lid is removed, and the bottom of the container              shaped lock tabs extending perpendicularly from a
pressed downward to expand the accordion nestled concen-                     lower face of said locking wings;
 tric triangular compartments. Slices of pi:,.za are layered into 55      wherein said seal ring is a solid generally triangular ring,
the container from the bottom up, separated by the insertion                 with a planar top face having an inner raised lip, and a
of triangular, microwaveable tr.iys (planar side up) between                 planar bottom face having an outer raised lip;
the pizza slices. When all slices arc inside, the container lid           wherein said locking wings are pivotally engaged about
 is pressed into place ensuring that the lid's flexible gasket is            said seal ring and said lock tabs engage around said
compressed on the container's rigid top seal ring and the 60                 outer raised lip so as to compress said gasket on said
vent cap is free. The four side locking wings are rotated from               planar top face of said seal ring.
a horizontal to a vertical position until the gasket is com-              3. 1l1e expandable pizza storage container of claim 2,
pressed and the lock tabs on the locking wings are friction-            further comprising:
a1ly captured beneath the lock tabs on the sides of the                   an inner lid flange adjacent to said gasket groove and
container. The bottom of the container is gently pressed 65                  extending perpendicularly downward from said bottom
 upward and the nestled concentric triangular compartments                   side of said lid ((4)). said inner lid flange having a
are collapsed until the top slice of pi7.7..a is in close proximity          slightly smaller generally triangular configuration as
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   said im1cr raised lip of said seal ring, so as to enable            a peripheral lip fom1ed there about said top face;
   proper orientation of said lid onto said seal ring.                 a finger tab extending from said top face;
4. An expandable piz1.a storage container, comprising:                  whei:ein saidIi?   resides upon said contain.er body with
a tlexible. generally triangular container body having                     said gasket m contact with said seal ring, said trav
   three sides joined at rounded comers. and a planar 5                    resides within said container body, and said tray has ~
   bottom face extending perpendicularly from a bottom                     core layer and a coating layer on said core laver.
   edge of said sides, wherein said sides are pleat folded              6. The expandable pizza storage container of ·claim 4
   so as to tc.)mt au upper pleat and a lower pleat that are         wherein said tray has a core layer and a coating layer on said
   conccntricaHv nested·                                             core layer.
a rigid seal ring bonded to a top edge of said sides·                   7. The expandable pizza storage container of claim 4
a rigid, genera11y triangular. planar lid with a ~sket               wherein said core layer is selected from the rigid set of cores
    groove fanned about a periphery edge of a bottom side            including metal or alloyed steel cores; and
   of said lid:                                                         wherein said coating layer is made of a BPA free and a
a compressible. removeable gasket frictionally retained                    phthalate free polymer.
   within said gasket groove:                                    15     8. The expandable pizza storage container of claim 7
a tr~angular_ trc1y witl~ a top face and a bottom face, said top     wherein said coating layer is made from the set of BPA free
   !ace havmg a senes of concave dimples:                            and phthalate free polymer coatings selected from the group
a peripheml lip fonned there about said top face;                    consisting PTFE, PF•..\, HOPE and polypropylene.
a finger tab extending from said top face;                              9. The expandable pizz.a storage container of claim 5
wherein said lid resides upon said container body with :?O wherein said coating layer is made from the set of coatings
   said gasket in contact with said seal ring, and said tray         consisting of a metal or alloyed steel; and
    resides within said container body.                                 wherein said core layer is made of a BPA free and
5. An ~xpandable pizw _storage container, comprising:                      phthalate free polymer.
a flexible. generally trmngular container body having                   .10. ·me expandable pi:zza storage container of claim 9
    three sides joined at rounded comers, and a planar 25 wherein said core layer is made from the set of BPA free and
    bottom face extending perpendicularly from a bottom              phthalate free polymer coatings selected from the group
   edge of said sides, wherein said sides are pleat folded           consisting PTFE, PFA, HOPE and polypropylene.
    so as to fom1 an upper pleat and a lower pleat that are             11. 111c expandable pi:zza storage container of claim 3
   concentrically nested;                                            wherein said vent cap has a triangular shape, a top vent face,
                                                                 30 a bottom vent face and a flexible, compressible bulbous
a rigid seal ring bonded to a top edge of said sides;
a rigid, generally triangular, planar lid with a gasket              extension sized for frictional engagement with said orifice.
    groove fonncd about a periphery edge of a bottom side               12. The expandable pi:zza storage container of claim 5
   of said lid;                                                      wherein    there are five concentric vertical levels of pizza
a compressible, removeable gasket frictionally retained              storage formed therein when said container body is
                                                                 3.5 expanded.
   within said gasket groove;
a triangular tray with a top face and a bottom face;                                       *   *   * *     *
